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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION


     UNITED STATES OF AMERICA                                                    PLAINTIFF


                  v.             Civil No. 10-50110-004


     NOE TORRES CAVILLO                                                          DEFENDANT


                                            ORDER

           Now, on this 8th day of February, 2012, the above referenced

     matter comes on for consideration of the Magistrate Judge’s Report

     and Recommendation (Doc. #171) filed herein on December 19, 2011,

     by the Honorable James Marschewski, United States Magistrate Judge

     for the Western District of Arkansas.                 The parties have waived

     their right to file objections to the Report and Recommendation.

           The    Court    has   reviewed     this   case    and,    being       well   and

     sufficiently        advised,     finds    as    follows:       the        Report   and

     Recommendation is proper and should be and hereby is adopted in

     its entirety.        Accordingly, the Court accepts the Defendant’s

     guilty plea to knowingly and intentionally combine, conspire,

     confederate and agree with others known and unknown to the United

     States      Government,     to    unlawfully     distribute          a     controlled

     substance,     namely, methamphetamine,          a    Schedule       II    controlled

     substance, in violation of Title 21 U.S.C. § 841(a)(1), all in

     violation of Title 21 U.S.C. § 846, and the Court tentatively

     approves the written plea agreement, subject to final approval at
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     sentencing.

           IT IS SO ORDERED.



                                              /s/ Jimm Larry Hendren
                                            JIMM LARRY HENDREN
                                            UNITED STATES DISTRICT JUDGE




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